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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION


UNITED STATES OF AMERICA


VERSUS                                               CRIMINAL ACTION NO. 2:05CR111-P-B


LESA WALKER LESURE
and NIKITA MICHELLE LESURE


                                              ORDER

       This cause is before the Court on the defendants’ Joint Motion to Continue Trial [25]. The

Court, having reviewed the motion and being otherwise fully advised in the premises, finds as

follows, to-wit:

       The trial of this matter is currently set for January 3, 2006. Counsel for defendants seek a

continuance to permit more time to review discovery and to conduct plea negotiations. The

government does not oppose the defendants’ request. Based on the foregoing, the Court finds that

the defendants’ Motion for Continuance is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from January 3, 2005 until the new trial date to be set in this matter. The time

is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendants additional time to investigate and prepare their defense

to the charges at issue. Therefore, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendants in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that
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 1.    The defendant’s Motion for Continuance [21] is GRANTED;

 2.    That the trial of this matter is continued as to all defendants until Monday, February

       6, 2006 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi;

 3.    That the delay from January 3 until February 6, 2006, is excluded as set out above;

 4.    That the deadline for filing pretrial motions is January 17, 2006;

 5.    That the deadline for submitting a plea agreement is January 23, 2006.

 SO ORDERED, this the 20th day of December, 2005.


                                              /s/ W. Allen Pepper, Jr.
                                              W. ALLEN PEPPER, JR.
                                              UNITED STATES DISTRICT JUDGE
